Case 1:14-cv-14176-ADB Document 471-2 Filed 08/03/18 Page 1 of 6




    EXHIBIT 3
       Case 1:14-cv-14176-ADB Document 471-2 Filed 08/03/18 Page 2 of 6




                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS
                                      BOSTON DIVISION



  STUDENTS FOR FAIR ADMISSIONS, INC,

                Plaintiff,

                v.

  PRESIDENT AND FELLOWS OF                              Civil Action No. 1:14-cv-14176-ADB
  HARVARD COLLEGE (HARVARD
  CORPORATION),                                         Leave to file granted on July 31, 2018
                Defendant.




                             DECLARATION OF CECILIA NUÑEZ
                                   (FUERZA LATINA)

       Cecilia Nuñez, pursuant to 28 U.S.C. Section 1746, declares the following:

       1.      My name is Cecilia Nuñez, and I am over 18 years of age and fully competent to

make this Declaration.

       2.      I am the Vice-President of Fuerza Latina at Harvard.

       3.      Fuerza Latina is Harvard’s undergraduate, pan-Latinx organization that seeks to

expose the diversity of Latinx culture at Harvard and create a support system for Latinxs in their

academic and extracurricular pursuits. We organize and co-sponsor events that promote the Latinx

student’s experience on campus. Through this strong community, we hope to enhance the

experience of both Latinxs and other students at Harvard.

       4.      Fuerza Latina was originally founded in 1993 as Fuerza Quisqueyana. The club was

created by ten Dominican undergraduates who envisioned a group that would specifically address

Dominican issues and concerns. At the time, Harvard College had several Latinx groups, including
       Case 1:14-cv-14176-ADB Document 471-2 Filed 08/03/18 Page 3 of 6




RAZA, Causa, and a Puerto Rican group called “La O,” but nothing dedicated to Dominican issues

and cultural sharing. As an organization, Fuerza Quisqueyana brought speakers to campus,

engaged in community service in Brighton (an area that housed a large Dominican community),

and founded the now annual tradition of Quisque Jam, a party that features salsa, merengue, and

hip-hop—music that was not heard at Harvard’s parties at that time.

       5.     By 1998, the membership of Fuerza was no longer mostly Dominican, as a larger

Latinx community grew on campus. After the board and members began a dialogue on whether

the group’s name should better reflect its membership, the name was changed to Fuerza Latina by

a majority vote. The focus of the organization, however, remained unchanged because, by that

time, Fuerza had taken up a much broader Latinx agenda. Today, Fuerza Latina is Harvard’s Pan-

Latinx umbrella organization and boasts members from numerous Latin American countries, as

well as non-Latinx members who share our interest in Latinx and Latin American culture.

       6.     Every Monday, Fuerza Latina hosts a dinner of some type to give people a more

casual space to make connections, network, and socialize with other people on campus—

essentially, students talk through their week with people who understand more of what they are

going through. We have a general meeting every week and a board meeting every week. These

meetings and events require a lot of planning and coordination with leaders of other cultural

organizations on campus. Fuerza Latina also has overnight retreats—sometimes to speak to the

Harvard administration about issues of concern to our members and improvements we want to see

on campus.

       7.     In addition, Fuerza Latina offers a mix of social, political, and identity-based

programming and discussions on issues pertinent to the Latinx community at Harvard and in the

larger United States. We have sponsored debates and discussions about issues like immigration or



                                               2
         Case 1:14-cv-14176-ADB Document 471-2 Filed 08/03/18 Page 4 of 6




issues of Latinx representation in the United States. Especially in the current political climate, we

feel a need to create a space for Harvard Latinx students to discuss issues that are affecting them.

We also sponsor a lot of political actions on campus on issues such as affirmative action and

policing of Latinx communities in Boston.

         8.    Fuerza Latina and other cultural organizations do a lot to provide academic support

to students who do not come from a college preparatory background. We create databases of study

guides, organize forums for people to talk about issues that they may be having in classes or

generally on campus, and create spaces for people to get advice and receive tutoring from each

other.

         9.    As an organization, we also have had to address insensitive incidents that affect

Latinx students. For example, as part of a political protest, one of the clubs on Harvard’s campus

slipped fake deportation notices under doors to try to raise awareness of immigration issues, not

realizing that we have people in our community who are undocumented. That incident was very

scary for some of our members, and they relied on Fuerza Latina for help. Because Fuerza Latina

has such a strong presence, we were able to very quickly communicate to all of our members

explaining that these notices were fake and to alleviate many people’s worries. But if Fuerza

Latina’s membership was reduced, it may not have been as successful at organizing to quickly

notify the Latinx community that the deportation notices were fake, resulting in some individuals

wasting time worrying about whether they or their roommate were actually being deported.

         10.   There have also been incidents where people don’t respect the Latinx presence on

campus and it helps to have a support system to respond collectively. For example, on Mexican

Independence Day, a lot of us were out and celebrating at night. Some white students walked by

called us “a bunch of wetbacks.” I think that’s one of those experiences where, because we were



                                                 3
        Case 1:14-cv-14176-ADB Document 471-2 Filed 08/03/18 Page 5 of 6




in a group, we could respond and push back, but I think it would be very threatening to a student

who was alone—especially because it occurred at night.

       11.     Our organizations have been able to come together to fight discrimination and

hostility toward Latinx students, but if we didn’t have a critical mass of Latinx students, we

wouldn’t necessarily be able to advocate for ourselves in that way and make people realize why

that’s not okay.

       12.     This case could be very damaging for Fuerza Latina in terms of our membership if

there is not a critical mass of Latinx students to run the organization. We are already a small

community, but if admissions for Latinx students dropped by 50%, as estimated by Harvard’s

expert if all considerations of race were eliminated from Harvard’s admissions policy, Fuerza

Latinx could not realistically be able to sustain our club, or at least not in at our current capacity.

We would not be able to offer that same support to our members, leading to more isolation of

Latinx students in the Harvard community.

       13.     This is case is particularly troubling for the Latinx community because we are

comprised of diverse nationalities and a drop in admissions increases the likelihood that, for

instance, there may be only one Cuban or El Salvadorian student in the entire Harvard

undergraduate campus. It would be very isolating to basically be the only one. Certain sub-Latinx

organizations cannot sustain themselves when there are not enough students from a particular

background. A lot of Latinx clubs on campus have gone through periods of being defunct since

their founding. In fact, a lot of clubs right now are not recognized as clubs by the Harvard

administration because they have encountered so many difficulties to formally exist due to the

fluctuation of admissions of students of various nationalities.




                                                  4
        Case 1:14-cv-14176-ADB Document 471-2 Filed 08/03/18 Page 6 of 6




       14.     Fuerza Latina takes on a lot of responsibilities to support students on campus that

are often handled by the administration at other universities. For example, other universities have

multicultural centers or a dean in charge of inclusion or diversity. At Harvard, the cultural

organizations have to pick up the slack in terms of creating an inclusive environment on campus

for our members because Latinx students cannot assume that we necessarily have a space for

ourselves.

       15.     Harvard does not have that much institutional support for diversity once students

are admitted. I think Harvard assumed that by recruiting more people, these issues will take care

of themselves. But this kind of attitude does not reflect the reality that students face—the reality

is that the Harvard administration needs to step up to provide a lot more support so that students

can depend on them when negative incidents happen on campus.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on this day, July 28, 2018



                                                     /s/ Cecilia Nuñez
                                                     Cecilia Nuñez




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